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                   Exhibit E
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                                                                         - 1 of 8 -                                                                 OFFICIAL RECORD
FD-302 (Rev. 5-8-10)                                                                                                                                      , , '. :.111�
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                                                                                                                         Date ofentry        12/28/2023


            On December 15, 2023, SHUYI XU was interviewed via Webex video conference
         by Southern District of New York (SDNY) Assistant United States Attorneys
         Alexandra Rothman and Matthew Podolsky. Also present for the interview were
         Federal Bureau of Investigation Special Agent Taylor LaGrange and XU's
         counsel, Attorneys Peter Neiman and Sara Maldonado of WilmerHale law firm.




   Investigationon 12/15/2023 at New York, New York, United States (Other (Webex))
   Fil e # 318B-NY -3416770                                                                                                 Date drafted 12/16/2 023
   by Taylor N. LaGrange
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Continuation of FD-302 of (U)   Interview of Shuyi Xu, 12/15/2023   , On   12/15/2023   , Page   4 of 8




                                    If XU knew ARCHEGOS’s positions were greater than
          30% of NAV, XU would have taken different actions. Because the impact would
          have been greater, there would likely have been more credit limits or
          internal discussions regarding exposure and lending. It would have had a
          material impact.




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                                                                                                           Xu, Shuyi
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